       Case 8:04-cr-00367-JSM-MAP Document 200 Filed 09/26/06 Page 1 of 6 PageID 469



                           UNITED S TA TES DISTRICT COURT
                                                MIDDLE DISTRICT OF FLORIDA
                                                     TAMPA DMSION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER:        8:M-cr-367-T-30MSS
                                                              USM NUMBER:         42198-018



CHRISTOPHER J. BELL
                                                              Defendant's Attorney: Joseph Bodiford, cja.

THE DEFENDANT:

2L_ pleaded guilty to count(s) ONE and TWO of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION               NATURE OF OFFENSE                                          OFFENSE ENDED             -
                                                                                                                   COUNT
21 U.S.C. $8846 and 841@)(1)(A) Conspiracy to Possess with Intent to Distribute          August 4, 2004            One
                              5 Kilograms or More of Cocaine

18 U.S.C. $ 924(c)                 Possession of a Firearm in Furtherance of a Drug      August 4,2004             Two
                                   Trafficking Crime

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

   The defendant has been found not guilty on count($
- Count@) (is)(are) dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: September 26, 2006




                                                                                                   2,
                                                                                                    2006
                                                                                DATE: ~ e ~ t e m b e r
        Case 8:04-cr-00367-JSM-MAP Document 200 Filed 09/26/06 Page 2 of 6 PageID 470
A 0 245B (Rev 06/05) Sheet 2 - Imprisonment
Defendant:         CHRISTOPHER J. BELL                                                                        Judgment - Page 2 of 6
Case No. :         8:04-cr-367-T-30MSS

                                                             IMPRISONMENT

          After considering the advisory sente~lcingguidelines and all of the factors identified in Title 18 U.S.C.
$6 3553(a)(1)-(7), the court finds that the sentence inlposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED and NINETY (190) MONTHS. This total term consists of a term of 130
months as to Count One and a mandatory consecutive term of 60 months as to Count Two.



-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman
(FL), if possible.



X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          - at - a.m.1p.m. on -.
          -as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the i~~stitution
                                                                         designated by the Bureau of Prisons.

          - before 2 p.m. on -.
          -as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Oftlce.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                      to                                               at

                                                                        , with a certified copy of this judgment.


                                                                                  -        -




                                                                                               United States Marshal

                                                                        By:

                                                                        Deputy Marshal
          Case 8:04-cr-00367-JSM-MAP Document 200 Filed 09/26/06 Page 3 of 6 PageID 471
A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release
                                                                                                      -   -



Defendant:           CHRISTOPHER J. BELL                                                                           Judgment - Page 3of 6
Case No. :           8:04-cr-367-T-30MSS
                                                            SUPERVISED RELEASE

       'LJponrelease from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to
Counts One and Two of the Indictment; all such terms to run concurrently.

        The defendant shall report to the probation ol'fice in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not illegally possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

           The defendant shall cooperate in the collection of DNA as directed by the probation officer.

             If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
             with the Schedule of Payments sheet of this judgment.

             The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
             conditions on the attached page.
                                               STANDARD CONDITIONS OF SUPERVISION
             the defendant shall not leave the judicial district without the permission of the court or probation officer;

             the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
             month:

             the dcfcndant shall answer truthfully all inquiries by thc probation officer and follow the instructions of the probation officer;

             the defendant shall support his or her dependents and meet other family responsibilities:

             the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;

             the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

             the dcfcndant shall rcfrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

             the defendant shall not frequent places where controlled substances are illegally sold, used. distributed, or administered;

             the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;

             the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;

             thc defendant shall notify the probation officc~within seventy-two hours of being arrested or questioned by a law enforcement officer;

             the defendant shall not enter into any agreetnent to act as an informer or a special agent of a law enforcement agency without the
             permission of the court;

             as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
             or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
             compliance with such notification requirement.
        Case 8:04-cr-00367-JSM-MAP Document 200 Filed 09/26/06 Page 4 of 6 PageID 472
                              -
A 0 245B (Rev. 06/05) Sheet 3C Supervised Release

Defendant:          CHRISTOPHER J. BELL                                                                Judgment - Page 4 of 6
Case No. :          8:04-cr-367-T-30MSS
                                            SPECIAL COIWITIONS OF SUPERVISION

          The defendant shall also comply with the following additional conditions of supervised release:


-
X         The defendant shall participate, as directed by the Probation Officer, in a program (outpatient andlor inpatient) for treatment
          of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use
          or abuse. Further. the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
          amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.

-
X         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation
          off cer's determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed
          104 tests per year.
        Case 8:04-cr-00367-JSM-MAP Document 200 Filed 09/26/06 Page 5 of 6 PageID 473
A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties

Defendant:           CHRISTOPHER J. BELL                                                                Judgment - Page 5 of 6
Case No. :           8:04-cr-367-T-30MSS

                                                CRIMINAL MONETARY PENALTIES

           The defendant must pay the total cri~ninalmonetary penalties under the schedule of payments on Sheet 6.
                                Assessment                            Fine                      Total Restitution

           Totals:                                                    Waived


-          The determination of restitution is deferred until           .      An Ainended Judgmerzt in a Criminal Case ( A 0 245C) will
           be entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
                                                             'r
           specified otherwise in the priority order or ercentage payment column below. However, pursuant to 18 U. S.C. 5
           3664(i), all nonfederal victim must be pai before the United States.
                                                                                                                Priority Order or
                                                       *Tota1                     Amount of                     Percentage of
Name of Payee                                        Amount of Loss            Restitution Ordered              Payment




                                Totals:

-          Restitution amount ordered pursuant to plea agreement $
-          The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fme is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
-          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          -          the interest requirement is waived for the - fine         - restitution.
          -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 1lOA, and 1 13A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1996.
        Case 8:04-cr-00367-JSM-MAP Document 200 Filed 09/26/06 Page 6 of 6 PageID 474
A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments
                --    -   -   -   --



Defendant:        CHRISTOPHER J. BELL                                                               Judgment - Page 6of 6
Case No. :        8:04-cr-367-T-30MSS


                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 200.00             due immediately. balance due
                              -not later than                 . or
                              -in accordance - C, - D, - E or - F below; or
                  Payment to begin immediately (may be combined with -C, -D, or -F below); or
                  Payment in equal                  (e.g . , weekly, monthly, quarterly) installments of $             over a
                  period of          (e .g., months or years), to commence                days (e.g., 30 or 60 days) after the
                  date of this judgment: or
                  Payment in equal                (e.g . . weekly. monthly, quarterly) installments of $               over a
                  period of
                               , (e.g., months or years) to commence                       (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
                  Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of                                     of criminal
monetary penalties is due during im risonment. All criminal monetary penalties,                                      made through the
                                        5
Federal Bureau of Prisons' Inmate inancial Responsibility Program, are made
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and ro erty,
or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the de en ant's        PB
nominees. The assets to be forfeited s ecifically include, but are not limited to: a High Standard revolver, model R-1Ol;a
Ruger revolver, model Single-Six; a Zeltec pistol, model P-1 1; and all ammunition seized from the defendants at the time
of arrest.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
